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EXHIBIT 2

 
Case 2:21-cv-12284-MAG-KGA ECF No. 12-3, PagelD.134 Filed 12/02/21 Page 2 of 2
9/11/21, 5:13 PM Gmail - ATTN ATTORNEY DISCIPLINE BOARD: (P52885) James P. Allen Inappropiate Conduct

Re: Gmail Susana Hamad <susanahamad2@gmail.com>

 

ATTN ATTORNEY DISCIPLINE BOARD: (P52885) James P. Allen Inappropiate
Conduct

 

Susana Hamad <susanahamad2@gmail.com> Tue, Aug 24, 2021 at 10:12 AM
To: armitage@adbmich.org, neeley@adbmich.org, daley@adbmich.org

Hello

Mark A. Armitage
Executive Director and General Counsel

Wendy A. Neeley
Deputy Director

Karen M. Daley
Associate Counsel

Please see emails of (P52885) James P. Allen Sr.
RuLeE 9.104(2) GROUNDS FOR DISCIPLINE IN GENERAL STATES:
(2) conduct that exposes the legal profession or the courts to obloquy, contempt, censure, or

reproach;

The conduct displayed in these emails violates this and Attorney James P. Allen Sr. should be
investigated.

 

3 attachments

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